                         Case 4:23-cr-00218          Document 47             Filed on 12/11/23 in TXSD            Page 1 of 1
 USA-74-24B
 (Rev. 05/01)
                                                                    CRIMINAL DOCKET
HOUSTON DIVISION                                                                                                 No. 4:23-cr-218-S
                                                                         United States Courts
USAO Number:                    2023R04888
                                                                       Southern District of Texas
                                                                                FILED
Magistrate Number:                                                       December 11, 2023
                                                                     Nathan Ochsner, Clerk of Court
SUPERSEDING INFORMATION                                    Filed                                        Judge:      Andrew S. Hanen

                                                                                                    ATTORNEYS:
UNITED STATES of AMERICA
                                                                                ALAMDAR S. HAMDANI, USA                     (713) 567-9000
 vs.
                                                                                STEPHANIE BAUMAN, AUSA                       (713) 567-9000

                                                                                                                            Appt'd    Private
 DHIRENKUMAR VISHNUBHAI PATEL                                                     Sara Beth Richey




                     Count 1S: Conspiracy [18 USC § 371]

 CHARGE:
  (TOTAL)
(COUNTS:)
 (     1    )




PENALTY:


                     Count 1s: Up to 5 years imprisonment; up to $250,000 fine; supervised release term up to 3 years;
                     $100 special assessment.




           In Jail      HOUSTON FDC                                              NAME & ADDRESS
                                                                                 of Surety:
           On Bond

           No Arrest

                                                                   PROCEEDINGS:
